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                          UNITED STATES DISTIRCT COURT
                            FOR THE DISTRICT OF MAINE



MELISSA A. ADLE, as Personal
Representative of the Estate of
Shad I. Gerken, late of Woodville,
County of Fenobscot and State of Maine,

                     Plaintiff


V.



THE STATE OF MAINE,
DEPARTMENT OF PUBLIC SAFETY,
MAINE STATE POLICE
DEPARTMENT, an agency of the State
of Maine, located in Augusta, Maine,

And


THE STATE OF MAINE,
DEPARTMENT OF INLAND
FISHERIES AND WILDLIFE, MAINE
WARDENS SERVICE, an agency of the
State of Maine, located in Augusta,
Maine,

And


MICHAEL KNIGHTS, a resident of
Winterport, County of Waldo and
State of Maine,

And


BRANDI DALTON, a resident of Lincoln
County of Penobscot and State of Maine

And


RONALD DUNHAM, a resident of
Lincoln, County of Penobscot and
State of Maine

And
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